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                                UNITED STATES DISTRICT COURT
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                               WESTERN DISTRICT OF WASHINGTON
                                         AT SEATTLE
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10          PEARL THOMAS,                                    CASE NO. C21-661 MJP

11                                Plaintiff,                 ORDER DENYING
                                                             DEFENDANTS’ MOTION TO
12                 v.                                        DISMISS AS MOOT

13          AMAZON.COM, INC., AMAZON
            WEB SERVICES, INC., KEITH
14          DURJAVA, and JIM HANDORF,

15                                Defendants.

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            This matter is before the Court on Defendants’ motion to dismiss. (Dkt. No. 13.) The
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     Court DENIES the motion as moot.
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            Defendants filed their motion to dismiss on July 20, 2021. (Dkt. No. 13.) Plaintiff filed
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     an amended complaint on August 9, 2021. (Dkt. No. 19.) A party has the right to file an
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     amended pleading within 21 days after service of a motion to dismiss. Fed. R. Civ. P.
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     15(a)(1)(B). There has been no additional briefing on the motion to dismiss. Instead,
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     Defendants have filed a motion to dismiss the amended complaint. (Dkt. No. 24.) Because “the
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     general rule is that an amended complaint supersedes the original complaint and renders it
24


     ORDER DENYING DEFENDANTS’ MOTION TO DISMISS AS MOOT - 1
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 1   without legal effect,” Lacey v. Maricopa County, 693 F.3d 896, 927 (9th Cir. 2012), and the

 2   Court sees no reason to depart from that rule here, Defendants’ first motion to dismiss is

 3   DENIED as moot.

 4          The clerk is ordered to provide copies of this order to all counsel.

 5          Dated August 27, 2021.

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                                                          Marsha J. Pechman
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                                                          United States District Judge
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     ORDER DENYING DEFENDANTS’ MOTION TO DISMISS AS MOOT - 2
